                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,                       CASE NO.: 3:18-cv-00017-NKM-JCH

         Plaintiff

         v.

   ALEXANDER JONES, et al.,                  BRIEF IN REPLY TO PLAINTIFF’S
                                             OPPOSITION TO THE MOTION
         Defendants                          FOR SANCTIONS (DKT. 109) FILED
                                             BY     DEFENDANTS        HOFT,
                                             STRANAHAN,       CREIGHTON,
                                             WILBURN,    HICKFORD       AND
                                             WORDS-N-IDEAS, LLC.




Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 1 of 12 Pageid#: 1618
                               TABLE OF AUTHORITIES

                                               CASES

  Adams v. Bain, 697 F.2d 1213 (4th Cir. 1982)                                               1-2

  Biospherics, Inc. v. Forbes, Inc., 151 F. 3d 180 (4th Cir. 1998)                             6

  Brandenburg v. Ohio, 395 U.S. 444 (1969)                                                    88

  Jewell v. Grain Dealers Mutual Insurance Co., 290 F.2d 11 (5th Cir. 1961)                    4

  Liberty Mut. Fire. Ins. v. Hayes, No. 96-2384 (4th Cir. Sept. 15, 1997)                      4

  Mims v. Kemp, 516 F.2d 21 (4th Cir.1975)                                                     2

  Moldea v. New York Times Co., 15 F.3d 1137 (D.C. Cir. 1994) rev’d in on other grounds on reh’g,

  22 F.3d 310 (D.C. Cir. 1994)                                                                 6

  Mylan Laboratories, Inc. v. Akzo, N.V., 2 F.3d 56 (4th Cir., 1993)                           1

  Nwanguma v. Trump, No. 17-6290 (6th Cir. Sept. 11, 2018)                                     8

  Walter v. Northeastern R. Co., 147 U.S. 370 (1893)                                           4



                                 FEDERAL STATUTE AND RULE

  28 U.S.C. § 1746                                                                             2

  Fourth Circuit Local Rule 32.1                                                               4




                                                   ii

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 2 of 12 Pageid#: 1619
          As a preliminary matter, by presenting this Reply, Mr. Hoft, Mr. Stranahan, Mr. Creighton,

  Mr. Wilburn, Ms. Hickford, and Words-N-Ideas, LLC (the “Undersigned Defendants”) do not

  waive any rights of jurisdiction, notice, process, joinder, or venue.

          This Reply will be kept short, because the failures of the Plaintiff are manifest at this point.

          First, the Plaintiff remarkably admits that there is no evidence to support the claim in

  paragraph 7 of the First Amended Complaint (Dkt. 29) (the “FAC”) that Mr. Hoft, Mr. Creighton,

  Mr. Wilburn, Ms. Hickford, and Words-N-Ideas, LLC (“WNI”)

          regularly do and/or solicit significant business in Virginia, engage in other
          persistent courses of conduct, or derive substantial revenue from goods sold to,
          goods used or consumed, or services rendered in Virginia, such that they have made
          minimum contacts with the state and have purposefully availed themselves of its
          laws.

  The Plaintiff goes on to claim that he does not have to prove jurisdiction exists at a motion to

  dismiss stage, but black letter law in the Fourth Circuit says that a plaintiff has to provide such

  proof or lose the case. “[W]hen, as here, the district court decides a pretrial personal jurisdiction

  dismissal motion without an evidentiary hearing, the plaintiff need prove only a prima facie case

  of personal jurisdiction.” Mylan Laboratories, Inc. v. Akzo, N.V., 2 F.3d 56 (4th Cir., 1993).

  Accordingly, the Plaintiff’s complete failure to provide any evidence in support of this assertion

  of jurisdiction is a failure to show a factual and legal foundation for the Plaintiff’s claims that

  justifies sanctions.

          In all bluntness, the failure to voluntarily dismiss at this stage would also appear to violate

  Rule 11 as well.

          Second, with respect to subject matter jurisdiction, the Plaintiff attempts to claim that he

  has presented evidence that this Court can consider, but he has not. As stated in Adams v. Bain,

  697 F.2d 1213, 1219 (4th Cir. 1982):




Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 3 of 12 Pageid#: 1620
         The burden of proving subject matter jurisdiction on a motion to dismiss is on the
         plaintiff, the party asserting jurisdiction. A trial court may consider evidence by
         affidavit, depositions or live testimony without converting the proceeding to one
         for summary judgment. See Mims v. Kemp, 516 F.2d 21 (4th Cir.1975). Unlike the
         procedure in a 12(b)(6) motion where there is a presumption reserving the truth
         finding role to the ultimate factfinder, the court in a 12(b)(1) hearing weighs the
         evidence to determine its jurisdiction.

  Adams only lists three kinds of evidence that this Court is allowed to consider: Affidavits,

  depositions, and live testimony. 1 Under 28 U.S.C. § 1746, a declaration must be considered equal

  to an affidavit, so a declaration is acceptable. What is not acceptable is a paper unsupported by

  affidavit, declaration, deposition, or live testimony. No one has promised that any document

  attached to the Plaintiff’s Memorandum of Points and Authorities in Opposition to Defendants’

  Motions to Dismiss (Dkt. 70) (“Opp. to MTD”) is truthful. Therefore, these documents are not

  admissible for the purpose of considering whether jurisdiction exists, another failure that justifies

  sanctions.

         Indeed, the Plaintiff appears to have violated Rule 11 again when he claims that Mr.

  Stranahan had only one declaration and the only fact in that declaration is that Mr. Stranahan

  resides in Virginia. Opp. to MFS, p. 8. During today’s hearing on the motions to dismiss, Plaintiff’s

  counsel also falsely stated that Mr. Stranahan submitted one declaration and falsely stated that the

  only fact alleged in that declaration was that Mr. Stranahan resided in Virginia. The truth is that

  Mr. Stranahan has submitted more than one declaration, and each declaration states more facts

  than just that he resides in Virginia. The first declaration was attached as Exhibit A to the Brief in

  Support of the Joint Motion to Dismiss and Motion for Attorneys Fees and Costs of Defendants

  Hoft, Creighton, Stranahan, Wilburn, Hickford, and Words-N-Ideas, LLC (Dkt 47) (“MTD Brief”)



  1
    The Plaintiff mentions Adams in footnote 1 of the Opp. to MFS, p. 8, but conveniently ignores
  this passage limiting the evidence to affidavits, depositions, and live testimony.
                                                    2

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 4 of 12 Pageid#: 1621
  and it states that 1) he has a year-long lease in Virginia, 2 2) he intends to live in Virginia for the

  foreseeable future, 3) he rents offices in D.C. and Virginia, 3) he has no office in Texas, 4) he has

  declared himself a Virginian for tax purposes and consequently Virginia taxes have been withheld

  from his paychecks, 5) he has no home in Texas, 6) he has no immediate family in Texas, 7) he

  has no property at all in Texas, 8) he has no Texas driver’s license or any kind of photo ID card

  issued by the state of Texas, and 9) he has not registered to vote or voted in Texas since 2012. His

  second declaration3 adds the additional facts: 1) he did not register to vote in Texas in late 2017

  (or any other time after 2012), 2) he uses a passport card as his photo ID when such ID is needed,

  and 3) the information on his Facebook page is out of date. Additionally, his 2017 W-2 form was

  attached as an exhibit to that second declaration, showing that he has been paying Virginia

  withholding taxes. Therefore, the Plaintiff (and his counsel) has misstated the truth with respect to

  the number of declarations and the facts established by both.

         Meanwhile, with respect to the amount in controversy, the Undersigned Defendants have

  noted that the allegation that the amount in controversy exceeds $75,000 depends on the allegation

  that the Undersigned Defendants have incited third parties who are not defendants in this case.

  Further, the Undersigned Defendants note that the Plaintiff has failed to properly allege that such

  incitement occurred. The Plaintiff does not deny these points, but continues to ludicrously assert

  that the Defendants cannot dispute the types of damages included when calculating the amount of

  damages. The Plaintiff makes this assertion by citing cases that limit the ability to challenge the

  amount of damage but not the type of damage. The Undersigned Defendants will not repeat their

  analysis originally presented in their “Brief in Reply to Plaintiff’s Opposition to the Motion to


  2
   In other words, he does not merely reside there, but has a long-term lease in the state.
  3
   Attached as Exhibit A to the “Brief in Reply to Plaintiff’s Opposition to the Motion to Dismiss
  (Dkt. 70)” (Dkt. 91).
                                                    3

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 5 of 12 Pageid#: 1622
  Dismiss (Dkt. 70)” (Dkt. 91) pp. 2-3 where the Undersigned Defendants showed that courts

  regularly refused to include certain types of damages when calculating the amount in controversy.

         Instead, the Undersigned Defendants wish to show one example of how absurd the

  Plaintiff’s argument is. It is true as a matter of black letter law that a plaintiff cannot reach the

  jurisdictional minimum by aggregating (or combining) claims by different defendants unless the

  Plaintiff can show that the claim is common, undivided, or joint. As the Fourth Circuit said in

  Liberty Mut. Fire. Ins. v. Hayes, No. 96-2384, at *4 (4th Cir. Sept. 15, 1997):4

         The rules of aggregation can be stated fairly simply. If a single plaintiff sues a single
         defendant, the plaintiff may aggregate the value of all claims to satisfy the
         jurisdictional amount, regardless of whether the claims have any factual
         connection. In the case of multiparty litigation, however, claims by or against co-
         parties generally may not be aggregated to meet the jurisdictional amount. If several
         plaintiffs join together to sue a single defendant, aggregation is allowed only if the
         plaintiffs’ claims arise from a common and undivided interest. Likewise, if a single
         plaintiff joins several parties as defendants, the plaintiff may not aggregate the
         various claims unless the defendants’ liability is common, undivided or joint. 15
         James Wm. Moore et al., MOORE’S FEDERAL PRACTICE §§ 102.108(1)-102.108(3)
         (3d ed. 1997).

  See also Jewell v. Grain Dealers Mutual Insurance Co., 290 F.2d 11, 13 (5th Cir. 1961) and Walter

  v. Northeastern R. Co., 147 U.S. 370, 373-74 (1893).

         So, there is no question that the Plaintiff can not, for instance, aggregate his claims between

  Mr. Hoft and Mr. Creighton so long as they are co-defendants without showing that their liability

  is common, undivided, or joint. Yet, the Plaintiff would have this Court hold that if the Plaintiff

  voluntarily dismissed Mr. Creighton, he could reach the jurisdictional threshold by aggregating




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   This is an “unpublished disposition,” but Fourth Circuit Local Rule 32.1 states that while citation
  of such opinions are “disfavored” they can be cited when “no published opinion… would serve as
  well.” Because undersigned counsel could find no published case that serves as binding precedent
  on this Court within the past century, that condition has been satisfied. A copy of that opinion has
  been attached as Exhibit C to the Brief in Support of the Joint Motion to Dismiss and Motion for
  Attorney Fees and Costs of Defendants Hoft and Stranahan (Dkt. 26).
                                                    4

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 6 of 12 Pageid#: 1623
  damages caused by Mr. Creighton in his claim against Mr. Hoft without showing that their liability

  is common, undivided, or joint. This is absurd. Why should the Plaintiff be allowed to aggregate

  claims involving third parties not named as defendants when he couldn’t do this to co-defendants?

         Accordingly, the Plaintiff has no basis in law for claiming that he could aggregate claims

  between the Defendants and third parties not named as defendants without showing that liability

  is common, undivided, or joint. Further, the only theory that the Plaintiff has offered for how the

  Defendants are liable for the conduct of those third party non-defendants is the claim that the

  Defendants have committed incitement, but as noted thoroughly in the MTD Brief, he has failed

  to properly plead incitement. Such a failure is grounds for sanctions.

         Meanwhile, in trying to escape the conclusion that many of the statements are opinions

  based on disclosed facts and, therefore, protected speech, the Plaintiff falsely claims that these

  opinions are “unsupported” or not based on disclosed facts 5 when this Court can read for itself that

  in each case, the opinions disclosed their factual basis. One particularly blatant example of this

  comes in FAC ¶ 38, when the Plaintiff alleges the following with respect to Mr. Creighton:

         In this article, Defendant Creighton notes [the Plaintiff’s] experience as a Foreign
         Service Officer in the Central African Republic and his work as chief of staff to
         Tom Perriello. On the basis of these true facts, along with [the Plaintiff’s] statement
         of belief that the attack was an act of terrorism, Defendant Creighton falsely states
         that [the Plaintiff] cannot have been a mere bystander who happened to record the
         attack.

  In short, Mr. Creighton provided factual support for his opinion, and the Plaintiff does not dispute

  those facts, but nonetheless, the Plaintiff claims that this opinion is somehow actionable.

         Then, paradoxically, in the very next paragraph of the Opp. to MFS, pp. 12-13, the Plaintiff

  claims that the factual predicates for their opinions are false. However, these examples invariably


  5
   See Plaintiff’s Opposition to Defendants Hoft, Stranahan, Creighton, Wilburn, Hickford, and
  Words-N-Ideas, LLC’s Motion for Sanctions (Dkt. 109) (“Opp. to MFS”) p. 12.
                                                   5

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 7 of 12 Pageid#: 1624
  fail. For instance, in Opp. to MFS, p. 12, n.3, the Plaintiff cites FAC ¶ 46 as alleging that “Mr.

  Creighton falsely stated that Mr. Gilmore has ‘ties to special operations, special forces, CIA,’” but

  in fact, the FAC does not allege at any point that the claim of such ties is false. In any case, this is

  obviously true: Any person who works for the administrative branch of the Federal Government

  is “tied” to every other part of the administrative branch, including special operations command

  (SOCOM), special forces, and the CIA. Likewise, in the same footnote the Plaintiff claims it is

  false to claim that he has links to George Soros, but the Plaintiff Admitted in FAC ¶ 106 that the

  Plaintiff worked for Tom Perriello’s gubernatorial campaign, which, in turn, received a donation

  from Mr. Soros, thus indicating he was in fact linked to Mr. Soros. Similarly, the same footnote

  claims that it is false to state that the Plaintiff “was involved in the Kony 2012 operation,” but

  there is no allegation in the FAC that the Plaintiff was not involved in this operation. Finally, Mr.

  Hoft’s statement that the “Deep State ... [is] trying to erase [Mr. Gilmore] from their records”

  found in the same footnote is simply another opinion based on disclosed facts.

          The Plaintiff complains that allowing people to freely discuss the conclusions the

  Defendants draw from disclosed facts would create a dangerous “loophole” in the law. Opp. to

  MFS, p. 13. However, that assertion demonstrates just how afraid the Plaintiff and/or his lawyers

  are of freedom of expression. Moldea v. New York Times Co., 15 F.3d 1137, 1144-45 (D.C. Cir.

  1994) rev’d in on other grounds on reh’g, 22 F.3d 310 (D.C. Cir. 1994)6 eloquently explains why

  opinions based on disclosed facts are protected:

          Because the reader understands that such supported opinions represent the writer’s
          interpretation of the facts presented, and because the reader is free to draw his or
          her own conclusions based upon those facts, this type of statement is not actionable
          in defamation.


  6
   This passage was quoted favorably in Biospherics, Inc. v. Forbes, Inc., 151 F. 3d 180, 185 (4th
  Cir. 1998).
                                                     6

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 8 of 12 Pageid#: 1625
  In other words, people will be able to think for themselves and draw their own conclusions. The

  Plaintiff thinks this is a dangerous loophole, but most people think that this is how freedom of

  expression and freedom of thought is supposed to work.

         Furthermore, the Plaintiff chose to completely ignore several complaints in the Brief in

  Support of Motion for Sanctions Filed by Defendants Hoft, Stranahan, Creighton, Wilburn,

  Hickford, and Words-N-Ideas, LLC (Dkt. 102) (“MFS Brief”). Specifically, the Plaintiff does not

  address the Undersigned Defendants’ point that “the FAC repeatedly attempts to penalize the

  Undersigned Defendants for stating undisputed facts.” MFS Brief, p. 5. Likewise, the Plaintiff

  simply ignores the MFS Brief’s point that in the FAC, “the Plaintiff attempted to use the valid

  theory of defamation by implication but completely disregarded the limitations to this theory,”

  evidently hoping to avoid the necessity of trying to justify the ridiculous claim that Mr. Stranahan

  conveyed a long and detailed message by a facial expression.

         As for the Undersigned Defendants’ claim that “the Plaintiff repeatedly pretended to know

  facts that he could not possibly know” in the FAC, MFS Brief, p. 7, the Plaintiff’s has indicated

  that this is exactly true. By way of background, the Plaintiff claimed to know for a fact that the

  Undersigned Defendants did not do adequate research, did not reach out to third party subjects of

  their reporting for comment and did not have their claims independently checked. The

  Undersigned Defendants argued that the allegations were implausible because there is no practical

  way for the Plaintiff to know any of it. Now they have admitted that they didn’t actually know

  these allegations were true—they were just guessing. See Opp. to MFS, pp. 14-15, n. 6. So, every

  one of the Plaintiff’s claims of lack of investigatory process—failure to contact persons (other than

  the Plaintiff), lack of independent verification, and so on—is simply a guess. This is an admission

  that the Plaintiff has violated Rule 11.


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Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 9 of 12 Pageid#: 1626
          Turning again to the issue of incitement—this time, in the context of the claim for

   intentional infliction of emotional distress—the Plaintiff states that the Undersigned Defendants

   “fail to point to any case law suggesting that the [Brandenburg v. Ohio, 395 U.S. 444, 557 (1969)]

   standard is a required element of intentional infliction of emotional distress in Virginia.” Opp. to

   MFS, p. 15. It is not an inherent element of intentional infliction of emotional distress: It is an

   inherent limitation imposed by the First Amendment on all private causes of action.

          For instance, in Wilson v. Midway Games, Inc., 198 F. Supp. 2d 167 (D. Conn. 2002), that

   court was faced with another claim of intentional infliction of emotional distress by incitement.

   The court found that even if the legal theory was sound as a matter of state law—and the court had

   its doubts—the plaintiff had to plead incitement that survives the Brandenburg test, stating that

          Although Wilson is a private party seeking legal redress on a common law theory
          of liability, the First Amendment nonetheless has bearing and applicability here, as
          the State of Connecticut cannot provide a remedy, either by its common law or by
          statute, that violates Midway’s free speech rights.

   Id. at 178. This principle was affirmed this past September in Nwanguma v. Trump, No. 17-6290

   (6th Cir. Sept. 11, 2018).7 That case involved the application of a statute providing civil relief for

   those harmed when a person incites a riot. Then-presidential-candidate Donald J. Trump allegedly

   incited violence against protesters at one his rallies. The court held that even if Mr. Trump’s

   expression met the definition of incitement in the relevant statute, the First Amendment would not

   permit liability unless the expression at issue met the Brandenburg standard—and in that case, Mr.

   Trump’s expression didn’t pass the Brandenburg test.

          Finally, with respect to the issue of the intent behind the Plaintiff’s suit, if anything, the

   Plaintiff has reinforced the inference that it was filed in bad faith. The Opp. to MFS complains that


   7
     This decision does not yet have a proper citation. However, a copy of this decision was provided
   to the Court during today’s hearing.
                                                     8

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 10 of 12 Pageid#: 1627
   the evidence of intent is intertwined with legal observations about the legal faults in the complaint,

   but plainly frivolousness in a complaint is evidence that it was not filed in good faith. Further, the

   Opp. to MFS states on page 16 that the Plaintiff filed suit

          because he faced a “barrage of harassing and threatening messages” in the months
          since Defendants published their defamatory statements, including the public
          sharing of his address, attempts to log into his online accounts, and multiple implied
          death threats against him and his family.

   However, the Plaintiff did not sue any of the people who harassed him, shared his home address,

   attempted to log into his online accounts, or made death threats against him and his family. He

   sued various other people who are not responsible for that behavior as a matter of law. 8

          In short, the Plaintiff has failed to demonstrate why he or his attorneys should not be

   sanctioned under Rule 11.



   Tuesday, November 13, 2018                     Respectfully submitted,

                                                   s/ Aaron J. Walker
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   8
     Indeed, the choice of who the Plaintiff chose to sue seems arbitrary and capricious. For instance,
   Mr. Wilburn is being sued for extensively quoting an article on Y OURNEWSWIRE—while
   cautioning his readers that he does not know whether the allegations the article makes is true—but
   the Plaintiff inexplicably does not sue the author of the YourNewsWire article that Mr. Wilburn
   quoted. Further, none of the people who supposedly harassed the Plaintiff are being sued, either.
   This arbitrary choice of defendants suggests a different agenda other than simply enforcing the
   Plaintiff’s legal rights.
                                                     9

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 11 of 12 Pageid#: 1628
                                     CERTIFICATE OF SERVICE

   I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the United
   States District Court for the Western District of Virginia on November 13, 2018. All participants
   in the case will be served automatically.

                                                  s/ Aaron J. Walker




                                                    10

Case 3:18-cv-00017-NKM-JCH Document 112 Filed 11/13/18 Page 12 of 12 Pageid#: 1629
